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11

12                                 UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                       (SAN JOSE DIVISION)

15   FINJAN LLC, a Delaware Limited Liability       Case No. 5:17-cv-00072-BLF
     Company,
16                                                  JOINT REQUEST TO SEVER AND STAY
                     Plaintiff,                     THE ’844, ’780, AND ’494 PATENTS
17

18         v.

19   CISCO SYSTEMS, INC., a California
     Corporation,
20
                     Defendant.
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                                                      JOINT REQUEST TO SEVER AND STAY THE ’844,
                                                                          ’780, AND ’494 PATENTS
                                                                         Case No. 5:17-cv-00072-BLF
           Case 5:17-cv-00072-BLF Document 769 Filed 05/03/21 Page 2 of 4




 1          To preserve the resources of the parties and in the interest of judicial economy, the parties

 2   request the Court sever United States Patent Nos. 6,154,844; 6,804,780; and 8,677,494 from this

 3   matter and stay the litigation, including deferring any trial, as to those three patents pending

 4   completion of any appellate review of the Court’s amended order (Dkt. No. 869) of March 29,

 5   2021 in Finjan v. ESET (S.D. Cal Case No. 17-cv-0183).

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 7

 8   Dated: May 3, 2021                                 FISH & RICHARDSON P.C.

 9

10                                                      By: /s/ Juanita R. Brooks
                                                            Juanita R. Brooks
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                                                        Attorneys for Plaintiff
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14   Dated: May 3, 2021                                 DUANE MORRIS LLP
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16                                                      By: /s/ Matthew C. Gaudet
                                                            Matthew C. Gaudet
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18                                                      Attorneys for Defendant
                                                        CISCO SYSTEMS, INC.
19

20                         ATTESTATION PURSUANT TO CIVIL L.R. 5-1(i)
21          In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
22   document has been obtained from any other signatory to this document.
23

24                                                  /s/ Juanita R. Brooks
25                                                  Juanita R. Brooks

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                                                       1     JOINT REQUEST TO SEVER AND STAY THE ’844,
                                                                                 ’780, AND ’494 PATENTS
                                                                                Case No. 5:17-cv-00072-BLF
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